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  In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 19-385V
                                         UNPUBLISHED


 TINA MURRY,                                                  Chief Special Master Corcoran

                         Petitioner,                          Filed: June 10, 2020
 v.
                                                              Special Processing Unit (SPU);
 SECRETARY OF HEALTH AND                                      Ruling on Entitlement; Concession;
 HUMAN SERVICES,                                              Table Injury; Influenza (Flu) Vaccine;
                                                              Shoulder Injury Related to Vaccine
                        Respondent.                           Administration (SIRVA)


Theodore J. Hong, Maglio Christopher & Toale, PA, Seattle, WA, for petitioner.

Althea Walker Davis, U.S. Department of Justice, Washington, DC, for respondent.

                                     RULING ON ENTITLEMENT1

       On March 13, 2019, Tina Murry filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccine administered on
October 28, 2016. Petition at 1. The case was assigned to the Special Processing Unit
of the Office of Special Masters.

       On June 8, 2020, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report


1 Because this unpublished ruling contains a reasoned explanation for the action in this case, I am

required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the ruling will be available to anyone with access to
the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755.      Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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at 1. Specifically, Respondent Petitioner has satisfied the criteria set forth in the
Vaccine Injury Table and the Qualifications and Aids to Interpretation for a SIRVA.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Brian H. Corcoran
                                   Brian H. Corcoran
                                   Chief Special Master




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